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     Federal Defender
2    MATTHEW C. BOCKMON, #161566
     Assistant Federal Defender
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     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     TABITHA VALDEZ
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8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                     )   Case No. 2:15-cr-058 MCE
                                                   )
11                              Plaintiff,         )   STIPULATION AND ORDER TO CONTINUE
                                                   )   STATUS CONFERENCE TO AUGUST 20,
12           v.                                    )   2015; EXCLUDE TIME
                                                   )
13   TABITHA VALDEZ, et al.,                       )   Date: August 20, 2015
                                                   )   Time: 9:00 a.m.
14                              Defendants.        )   Judge: Hon. Morrison C. England, Jr.
                                                   )
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16             IT IS HEREBY STIPULATED by and between Benjamin Wagner, U.S. Attorney,
17   through Jill Thomas, Assistant United States Attorney, attorney for Plaintiff, and Heather
18   Williams, Federal Defender, through Assistant Federal Defender, Matthew C. Bockmon,
19   attorney for Tabitha Valdez, defendant, Stacie White, by and through her counsel, Christopher
20   Cosca, and defendant, David Santiago Valdez, by and through his counsel Candace Fry that the
21   status conference set for June 25, 2015, be continued to August 20, 2015, at 9:00 a.m.
22             The reasons for this continuance are to allow defense counsel additional time to review
23   discovery with the defendants, to examine possible defenses, to continue investigating the facts
24   of the case and for continued defense preparation.
25             Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
26   excluded of this order’s date through and including August 20, 2015; pursuant to 18 U.S.C.
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      Stipulation to Continue                          -1-              United States v. Valdez, et al., 2:15-cr-058 MCE
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1    §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4
2    based upon continuity of counsel and defense preparation.
3              Counsel and the defendants also agree that the ends of justice served by the Court
4    granting this continuance outweigh the best interests of the public and the defendants in a speedy
5    trial.
6                                                   Respectfully submitted,
7    DATED: June 22, 2015                           HEATHER E. WILLIAMS
                                                    Federal Defender
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9                                                   /s/ Matthew C. Bockmon
                                                    MATTHEW C. BOCKMON
10                                                  Assistant Federal Defender
                                                    Attorney for Defendant
11                                                  TABITHA VALDEZ
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     DATED: June 22, 2015                           /s/ Christopher Cosca
13                                                  CHRISTOPHER COSCA
                                                    Attorney for Defendant
14                                                  STACIE WHITE
15   DATED: June 22, 2015                           /s/ Candace Fry
16                                                  CANDACE FRY
                                                    Attorney for Defendant
17                                                  DAVID SANTIAGO VALDEZ

18   DATED: June 22, 2015                           BENJAMIN B. WAGNER
                                                    United States Attorney
19
20                                                  /s/ Jill Thomas
                                                    JILL THOMAS
21                                                  Assistant U.S. Attorney
                                                    Attorney for Plaintiff
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      Stipulation to Continue                         -2-               United States v. Valdez, et al., 2:15-cr-058 MCE
       Case 2:15-cr-00058-DAD Document 36 Filed 06/29/15 Page 3 of 3


1                                                 ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendant in a speedy trial.
8              The Court orders the status conference rescheduled for August 20, 2015, at 9:00 a.m.
9    The Court orders the time from the date of the parties stipulation, up to and including August 20,
10   2015, excluded from computation of time within which the trial of this case must commence
11   under the Speedy Trial Act, pursuant to 18 U.S.C. §§3161(h)(7), and Local Code T4.
12             IT IS SO ORDERED.
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     Dated: June 29, 2015
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      Stipulation to Continue                          -3-               United States v. Valdez, et al., 2:15-cr-058 MCE
